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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF FLORIDA

     HARRY L. DANOW,                              )
                                                  )
                      Plaintiff,                  )
                                                  )           Case No.
           v.                                     )           05-CV-61562-TEB
                                                  )
     DAVID E. BORACK and                          )
     THE LAW OFFICE OF DAVID E. BORACK, P.A., )
                                                  )
                      Defendants                  )
     ____________________________________________)

                      DECLARATION OF DEEPAK GUPTA

     I, Deepak Gupta, hereby declare as follows:

           1.    I am a Staff Attorney at Public Citizen Litigation Group

     (PCLG), where I have practiced since 2004. My office address is 1600 20th

     Street, NW, Washington, DC 20009. I am a member in good standing of the

     Bar of the District of Columbia. I am also a member of the bar of several

     federal courts, including the U.S. Court of Appeals for the Eleventh Circuit

     and the U.S. Supreme Court.

           2.    PCLG is the litigating arm of Public Citizen, a national, non-

     profit consumer advocacy organization founded in 1972. PCLG advocates

     on behalf of consumers in state and federal courts nationwide. One of

     PCLG’s specialties is appellate practice before the federal courts of appeals




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     and the U.S. Supreme Court; PCLG’s attorneys have argued more than 50

     cases in the Supreme Court alone.

           3.     At PCLG, I serve as director of the Consumer Justice Project, a

     project that partners with other non-profit organizations, legal aid lawyers,

     and private consumer advocates nationwide to file amicus briefs or jointly

     litigate consumer cases, frequently on appeal. I specialize in consumer

     litigation, including litigation under the Fair Debt Collection Practices Act

     (FDCPA). I have litigated several appeals under the FDCPA that have

     resulted in significant precedents for consumers.

           4.     Before coming to PCLG, I worked at the United States

     Department of Justice, Civil Rights Division, and served for two years as a

     law clerk to the Honorable Lawrence K. Karlton, Chief Judge Emeritus of

     the U.S. District Court for the Eastern District of California. I graduated in

     2002 from Georgetown University Law Center and received my

     undergraduate degree from Fordham University, graduating magna cum

     laude in 1999, and earning membership in Phi Beta Kappa.

           5.     I am currently an Adjunct Professor of Law at both

     Georgetown University Law Center and American University, Washington

     College of Law, where I teach courses in public interest law and appellate

     advocacy.



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           5.    I have served as the lead author of plaintiff-appellant Harry L.

     Danow’s briefing in appeals before the U.S. Court of Appeals for the

     Eleventh Circuit in this case. The purpose of this declaration is to provide

     support for an award of attorney’s fees and expenses under the Fair Debt

     Collection Practices Act (FDPCA), 15 U.S.C. 1692k(a)(3) for the work done

     on that briefing following the first successful appeal (for which this Court

     has already awarded attorneys’ fees).

           6.    I was not involved in trial-court litigation in this case.

     Following the dismissal of this case on January 24, 2006, I was contacted by

     lead counsel for the plaintiff, Donald A. Yarbrough, who asked me to

     evaluate the prospects for this case on appeal and, if appropriate, to draft

     the appellate briefing. Mr. Yarbrough sought PCLG’s assistance because

     of our expertise in both general appellate litigation and in litigation

     involving the Fair Debt Collection Practices Act. As noted the first appeal

     was successful.

           6.    Following the successful jury verdict in Mr. Danow’s favor,

     Mr. Yarbrough again contacted me to defend the verdict on appeal. This

     time, the defendants filed an appeal challenging the jury verdict itself--

     primarily on the grounds that Mr. Yarbrough had supposedly made

     prejudicial comments during his closing statement at trial. The appeal also



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     attempted to challenge the pretrial denial of the defendants’ motion for

     summary judgment. I again agreed to handle the appeal. My initial

     assessment was that the appeal was without merit and was unlikely to

     succeed.

           7.    Although I judged the defendants’ second appeal to be

     without merit, it was necessary to file a brief responding to the appeal, to

     show the court why no prejudicial error had occurred at trial. Preparing

     the brief required me to spend a significant amount of time studying the

     record, researching the law, and writing and editing an effective appellate

     brief. This was particularly time-intensive because the appeal required me

     to study the trial transcript, among other things, to rebut the defendants’

     argument that Mr. Yarbrough’s statement had prevented defendants from

     receiving a fair trial. Nonetheless, because I relied on my experience in

     preparing such appeals and attempted to be as efficient as possible, my

     overall number of hours was considerably lower than might be expected.

           7.    Overall, I am seeking compensation for 44.25 hours spent on

     the tasks I performed: examining the record in this case and researching,

     writing, and editing the Brief for Appellee. In my experience, this is a very

     reasonable number of hours for a successful appeal to a United States

     Court of Appeals—particularly for an appeal arising out of a jury trial.



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            8.    Based on a reasonable market hourly rate of $300, Public

     Citizen’s total request in this case comes to $13,275.00.

            9.    I am not requesting compensation for any clerical work that

     would normally be performed by a non-attorney paralegal. I am also not

     requesting compensation for Westlaw research expenses or other office

     expenses incurred. Although these hours and expenses are compensable,

     it is my practice to claim compensation only for substantive attorney time.

     I also am not requesting compensation for the time that I spent evaluating

     the defendants’ third appeal for Mr. Yarbrough; that appeal, too, was

     frivolous, and the Eleventh Circuit summarily affirmed without argument.

            Signed under penalty of perjury on May 5, 2010, in Washington,

     D.C.

                                            /s/ Deepak Gupta
                                            Deepak Gupta




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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                        Case No.: 05-61562-Civ-Martinez/Bandstra

     HARRY L. DANOW,

           Plaintiff.
     v.

     THE LAW OFFICE OF DAVID E. BORACK, P.A.,

          Defendant.
     __________________________________________/

                            CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on July 15, 2010, I electronically filed
     the foregoing document with the Clerk of Court using CM/ECF. I also
     certify that the foregoing document is being served this day on all counsel of
     record or pro se parties identified on the attached Service List in the manner
     specified, either via transmission of Notices of Electronic Filing generated
     by CM/ECF or in some other authorized manner for those counsel or parties
     who are not authorized to receive electronically Notices of Electronic Filing.

                                                  s/Donald A. Yarbrough
                                                  Donald A. Yarbrough, Esq.

                                    SERVICE LIST

     Mr. David E. Borack, Esq.
     Law Office of David E. Borack, P. A.
     Suite 200
     2300 Maitland Center Parkway
     Maitland, FL 32751

     Via US Mail.




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